Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 1 of 22
                               Case 17-10438-BLS                    Doc 1        Filed 02/28/17              Page 2 of 22

Debtor          Axios  Logistics Solutions Inc.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Canada
                                        ______________________________________________                   3422 Old Capitol Trail
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         Suite 700
                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Wilmington                         DE      19808
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region  ZIP/Postal Code


                                                                                                         USA
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 150 York Street
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 Suite 1600
                                                                                                         _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Toronto                            ON M5H 3S5
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region  ZIP/Postal Code


                                         _______________________________________________                 Canada
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 3 of 22
                  Case 17-10438-BLS               Doc 1      Filed 02/28/17         Page 4 of 22



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 15
In re:
                                                                 Case No. 17-_______ (___)
Axios Logistics Solutions Inc., et al.,1
                                                                 Joint Administration Requested

         Debtors in a Foreign Proceeding.


                LIST FILED PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

         A. Farber & Partners Inc. (the “Receiver”) the court-appointed receiver and duly

authorized foreign representative for Axios Logistics Solutions Inc., Axios Mobile Assets Corp.,

Axios Mobile Assets Inc., and Axios Mobile Assets, Inc. (collectively, the “Debtors”) in

Canadian insolvency proceedings in Toronto, Ontario, Canada (the “Canadian Proceeding”),

hereby files this list pursuant to Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure

and states as follows:

         1. Parties Authorized to Administer Foreign Proceedings of the Debtors:

             A. Farber & Partners Inc. is the court-appointed receiver and duly authorized foreign
             representative for Axios Logistics Solutions Inc., Axios Mobile Assets Corp., Axios
             Mobile Assets Inc., and Axios Mobile Assets, Inc. in the Canadian insolvency
             proceedings in Toronto, Ontario, Canada. The Receiver believes that, other than the
             Canadian Proceedings and these chapter 15 cases, there are no foreign proceedings
             pending with respect to any of the Debtors.

         2. Litigation Parties in the United States:

             The Receiver is not currently aware of any litigation pending against the Debtors in
             the United States.




1        The last four digits of the Employer Identification Number for each debtor follow in parentheses: Axios
         Logistics Solutions Inc. (0963); Axios Mobile Assets Corp. (n/a); Axios Mobile Assets Inc. (n/a), and Axios
         Mobile Assets, Inc. (2778). The Debtors’ headquarters are located at 30 Topflight Drive, Unit 7, Mississauga,
         Ontario, L5S 0A8, Canada.
              Case 17-10438-BLS        Doc 1    Filed 02/28/17    Page 5 of 22



       3. Entities Against Whom Provisional Relief is Sought under 11 U.S.C. § 1519:

           The Receiver seeks provisional relief against plaintiffs and other parties in the
           aforesaid civil actions, if any, and protection of the Debtors’ property and assets
           within the territorial jurisdiction of the United States.


Dated: February 28, 2017
       Wilmington, Delaware


                                    /s/ Mark L. Desgrosseilliers
                                    Mark L. Desgrosseilliers (Del. Bar No. 4083)
                                    Morgan L. Patterson (Del. Bar No. 5388)
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                                    E-mail: mpatterson@wcsr.com

                                    Attorneys for A. Farber & Partners Inc.




WCSR 38939453v1
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 6 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 7 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 8 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 9 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 10 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 11 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 12 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 13 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 14 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 15 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 16 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 17 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 18 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 19 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 20 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 21 of 22
Case 17-10438-BLS   Doc 1   Filed 02/28/17   Page 22 of 22
